Case: 1:O7-cv-O4991 Document #: 101 Filed: 04/25/08 Page 1 of 2 Page|D #:769

HHU

IN THE UNITED STATES DISTRICT COURT
FOR THE NDRTHERN DISTRIC‘T OF ILLINOIS

EASTERN DIVISION
Terry Mnrtin, §
Plaintii`f, )
v, ) No. 07-cv-4991

)

City of Chicagn, et 31_, ) Judge Ronald A. Guzmnn
)
Defendants. §

ORDER

This cause comes before us on defendant's Morz`onfor Emr'y of Bz'ji,lrcotz`on Order On
Rew'sed Str'pulatz`on. On November 26, 2007, Defendant, City of Chicago, filed its Motion to
Bz'furcate Section 1983 Claz'ms and to Stay Dz`scovery and Tr'z`ol on Those Clm`ms. By this motion
the City sought to bifurcate and to postpone the discovery and trial of the plaintiffs Monell
claims against it. To make the motion more palatable, the City offered a stipulation by Wbich it
agreed, in essence, to be bound by any judgment entered against the individual police officers
arising out of the same incident Since that time the parties have been struggling to reduce to a
mutually acceptable written form the City‘s proposed stip\.llationl Unf`ol'tl.lnatel§,ql they have been
enable to do so. lt seems that every time an objection is cleared up, a new one arises. Upon
reconsideration the Court concludes that the entry of a stipulation as proposed by the City is not
required In essence, the stipulation changes very little. The fact of the matter is that the City is
in all practical respects bound to indemnify those officers for the vast majority of judgments
which might be issued against them for actions taken under color of laW. Moreover, and more to
the point, the benefits of bifurcating these issues outweigh any drawbacks with or without the

proposed stipulation. The court has already articulated on the record its reasons for reaching this

 

 

Case: 1:O7-cv-O4991 Document #: 101 Filed: 04/25/08 Page 2 of 2 Page|D #:770

conclusion Although strengthened by the entry of the City's proposed stipulation, the factors
favoring bifurcation are sufficient to warrant the requested bifurcation even Without the
stipulation Therefore, the City's motion is granted and all proceedings on the Monell claims

against the City are stayed until the resolution of the claims against the individual officers
nasa Aprna$j 2003

SO DRDERED ENTER:

MJ

RONALD A. GUZMA .
District Judge

  

 

